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                        Exhibit 6
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                                                                                         25th                    75th
Position     Seq#       Firms                                         Count    Low     Percentile     Median   Percentile    High
2023
Partners
                     1) Akin Gump Strauss Hauer & Feld LLP             42     $1,135     $1,440       $1,775     $1,995     $1,995
                     2) Jones Day LLP                                   2     $1,200     $1,250       $1,300     $1,350     $1,400
                     3) Kirkland & Ellis LLP                           184    $1,035     $1,343       $1,495     $1,795     $2,255
                     4) Kramer Levin Naftalis & Frankel LLP             4     $1,665     $1,680       $1,688     $1,718     $1,800
                     5) Latham & Watkins LLP                           18     $1,018     $1,390       $1,620     $1,716     $2,035
                     6) Milbank LLP                                    10     $1,495     $1,785       $1,895     $2,008     $2,045
                     7) Morrison & Foerster LLP                        10     $1,200     $1,219       $1,538     $1,713     $2,050
                     8) O'Melveny & Myers LLP                          11      $600       $600         $600       $600      $1,265
                     9) Paul Hasting LLP                               24     $1,375     $1,510       $1,663     $1,739     $1,935
                    10) Paul, Weiss, Rifkind, Wharton & Garrison LL    18     $1,605     $1,929       $2,095     $2,175     $2,175
                    11) Quinn Emanuel Urquhart & Sullivan, LLP         21     $1,150     $1,385       $1,593     $1,770     $2,130
                    12) Skadden, Arps, Slate, Meagher & Flom LLP       23     $1,196     $1,460       $1,526     $1,607     $1,960
                    13) Weil Gotshall & Manges LLP                     48     $1,450     $1,595       $1,710     $1,898     $2,095
                    14) Willkie Farr & Gallagher LLP                   17     $1,380     $1,625       $1,750     $1,875     $2,050
                    15) Wilmer Cutler Pickering Hale and Dorr LLP      11     $1,205     $1,350       $1,455     $1,550     $1,920


Of Counsel
                     1) Akin Gump Strauss Hauer & Feld LLP             37      $990      $1,120       $1,320     $1,380     $1,500
                     2) Kirkland & Ellis LLP                            1     $1,585     $1,585       $1,585     $1,585     $1,585
                     3) Kramer Levin Naftalis & Frankel LLP             2     $1,280     $1,285       $1,290     $1,295     $1,300
                     4) Latham & Watkins LLP                            6     $1,300     $1,340       $1,460     $1,460     $1,575
                     5) Milbank LLP                                     4     $1,320     $1,320       $1,320     $1,346     $1,425
                     6) Morrison & Foerster LLP                         4     $1,050     $1,106       $1,163     $1,331     $1,725
                     7) O'Melveny & Myers LLP                           8      $600       $600         $600       $600       $700
                     8) Paul Hasting LLP                                9     $1,025     $1,485       $1,510     $1,550     $1,785
                     9) Paul, Weiss, Rifkind, Wharton & Garrison LL     6     $1,650     $1,650       $1,650     $1,650     $1,650
                    10) Quinn Emanuel Urquhart & Sullivan, LLP          6      $950      $1,215       $1,283     $1,350     $1,350
                    11) Skadden, Arps, Slate, Meagher & Flom LLP       15      $975      $1,058       $1,269     $1,294     $1,790
                    12) Weil Gotshall & Manges LLP                     16     $1,250     $1,375       $1,375     $1,406     $1,425
                    13) Wilmer Cutler Pickering Hale and Dorr LLP       2     $1,250     $1,265       $1,280     $1,295     $1,310


Associates
                     1) Akin Gump Strauss Hauer & Feld LLP             57      $535       $790         $905      $1,045     $1,250
                     2) Jones Day LLP                                   1      $725       $725         $725       $725       $725
                     3) Kirkland & Ellis LLP                           281     $540       $795         $935      $1,115     $1,395
                     4) Kramer Levin Naftalis & Frankel LLP             3      $840       $975        $1,110     $1,113     $1,115
                     5) Latham & Watkins LLP                           47      $650       $830        $1,065     $1,140     $1,295
                     6) Milbank LLP                                    19      $695       $860         $860      $1,023     $1,200
                     7) Morrison & Foerster LLP                        10      $810       $830         $930      $1,074     $1,135
                     8) O'Melveny & Myers LLP                           8      $600       $600         $600       $600       $600
                     9) Paul Hasting LLP                               36      $505       $841         $930      $1,164     $2,016
                    10) Paul, Weiss, Rifkind, Wharton & Garrison LL    37      $825       $825        $1,125     $1,270     $1,380
                    11) Quinn Emanuel Urquhart & Sullivan, LLP         30      $575       $842         $905      $1,104     $1,315
                    12) Skadden, Arps, Slate, Meagher & Flom LLP       51      $495       $833        $1,017     $1,148     $2,019
                    13) Weil Gotshall & Manges LLP                     112     $690       $910        $1,065     $1,178     $1,345
                    14) Willkie Farr & Gallagher LLP                   21      $575      $1,030       $1,185     $1,250     $1,350
                    15) Wilmer Cutler Pickering Hale and Dorr LLP      17      $680       $730         $850      $1,005     $1,195


Paralegals
                     1) Akin Gump Strauss Hauer & Feld LLP             25      $320       $390         $445       $485       $530
                     2) Jones Day LLP                                   1      $475       $475         $475       $475       $475
                     3) Kirkland & Ellis LLP                           65      $295       $395         $425       $480       $575
                     4) Kramer Levin Naftalis & Frankel LLP             1      $525       $525         $525       $525       $525
                     5) Latham & Watkins LLP                            5      $310       $440         $470       $490       $490
                     6) Milbank LLP                                     6      $300       $391         $403       $410       $450
                     7) Morrison & Foerster LLP                         2      $405       $415         $425       $435       $445
                     8) O'Melveny & Myers LLP                           3      $400       $400         $400       $420       $440
                     9) Paul Hasting LLP                                5      $325       $330         $515       $515       $540
                    10) Paul, Weiss, Rifkind, Wharton & Garrison LL    11      $380       $423         $435       $435       $470
                    11) Quinn Emanuel Urquhart & Sullivan, LLP          2      $320       $360         $400       $440       $480
                    12) Skadden, Arps, Slate, Meagher & Flom LLP       15      $284       $378         $387       $446       $540
                    13) Weil Gotshall & Manges LLP                     21      $310       $465         $465       $475       $530
                    14) Willkie Farr & Gallagher LLP                    2      $370       $378         $385       $393       $400
                    15) Wilmer Cutler Pickering Hale and Dorr LLP       1      $600       $600         $600       $600       $600


Law Clerk
                     1) Akin Gump Strauss Hauer & Feld LLP              1      $420       $420         $420       $420       $420
                     2) Quinn Emanuel Urquhart & Sullivan, LLP          8      $509       $509         $509       $509       $509
                     3) Skadden, Arps, Slate, Meagher & Flom LLP        6      $446       $473         $484       $559       $860
                     4) Weil Gotshall & Manges LLP                      1      $525       $525         $525       $525       $525
                     5) Willkie Farr & Gallagher LLP                    3      520        520          520        520        520


Staff Attorney
                     1) Paul, Weiss, Rifkind, Wharton & Garrison LL    15      $595       $595         $595       $595       $625
                     2) Quinn Emanuel Urquhart & Sullivan, LLP          2      $446       $446         $446       $446       $446
                     3) Wilmer Cutler Pickering Hale and Dorr LLP       1      $695       $695         $695       $695       $695


Financial Analyst
                     1 Wilmer Cutler Pickering Hale and Dorr LLP        3      $515       $515         $515      $570        $625




2023 Defense Billing Rates Report                                                                 1                                          Defense Summary Report
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                                                                                 25th                                      75th
Position            Type   Firms                     Count   Low                                       Median                                     High
                                                                                 Percentile                                Percentile
2023                                                         Rate     (%Diff.)   Rate       (%Diff.)   Rate     (%Diff.)   Rate       (%Diff.)    Rate       (%Diff.)
All Partners
                           All Firms Sampled         443     $600     (-8%)      $1,405     (+57%)     $1,607   (+61%)     $1,845     (+70%)      $2,255     (+64%)
                           Labaton Keller Sucharow   24      $650                $894                  $1,000              $1,088                 $1,375
                           LLP

             Senior Partners
                           All Firms Sampled         311     $600     (-29%)     $1,526     (+62%)     $1,725   (+68%)     $1,900     (+67%)      $2,255     (+64%)
                           Labaton Keller Sucharow   20      $850                $944                  $1,025              $1,138                 $1,375
                           LLP

             Mid-Level Partners
                           All Firms Sampled         56      $600     (-27%)     $1,384     (+68%)     $1,493   (+81%)     $1,625     (+97%)      $2,045     (+148%)
                           Labaton Keller Sucharow   1       $825                $825                  $825                $825                   $825
                           LLP

             Junior Partners
                           All Firms Sampled         76      $1,095   (+68%)     $1,243     (+84%)     $1,350   (+93%)     $1,425     (+93%)      $2,035     (+163%)
                           Labaton Keller Sucharow   3       $650                $675                  $700                $738                   $775
                           LLP

Of Counsel
                           All Firms Sampled         116     $600     (+0%)      $1,200     (+78%)     $1,325   (+77%)     $1,425     (+78%)      $1,790     (+179%)
                           Labaton Keller Sucharow   18      $600                $675                  $750                $800                   $1,000
                           LLP

All Associates
                           All Firms Sampled         730     $495     (+10%)     $825       (+74%)     $985     (+88%)     $1,148     (+104%)     $2,019     (+223%)
                           Labaton Keller Sucharow   27      $450                $475                  $525                $563                   $625
                           LLP

             Senior Associates
                           All Firms Sampled         157     $535     (+13%)     $1,045     (+90%)     $1,148   (+100%)    $1,250     (+106%)     $2,019     (+223%)
                           Labaton Keller Sucharow   12      $475                $550                  $575                $606                   $625
                           LLP

             Mid-Level Associates
                           All Firms Sampled         163     $600     (+20%)     $1,035     (+97%)     $1,135   (+116%)    $1,203     (+129%)     $1,345     (+156%)
                           Labaton Keller Sucharow   5       $500                $525                  $525                $525                   $525
                           LLP

             Junior Associates
                           All Firms Sampled         410     $495     (+10%)     $735       (+55%)     $858     (+81%)     $960       (+102%)     $1,315     (+177%)
                           Labaton Keller Sucharow   10      $450                $475                  $475                $475                   $475
                           LLP

Paralegals
                           All Firms Sampled         165     $284     (+42%)     $395       (+5%)      $435     (+12%)     $475       (+22%)      $600       (+38%)
                           Labaton Keller Sucharow   17      $200                $375                  $390                $390                   $435
                           LLP

Staff Attorneys
                           All Firms Sampled         18      $446     (+31%)     $595       (+41%)     $595     (+38%)     $595       (+32%)      $695       (+46%)
                           Labaton Keller Sucharow   22      $340                $421                  $430                $450                   $475
                           LLP

Investigators
                           All Firms Sampled         0       $0       (+0%)      $0         (+0%)      $0       (+0%)      $0         (+0%)       $0         (+0%)
                           Labaton Keller Sucharow   7       $450                $475                  $475                $488                   $625
                           LLP

Law Clerks
                           All Firms Sampled         19      $420     (+53%)     $502       (+67%)     $509     (+70%)     $520       (+73%)      $860       (+187%)
                           Labaton Keller Sucharow   5       $275                $300                  $300                $300                   $300
                           LLP

Financial Analyst
                           All Firms Sampled         3       $515     (+171%)    $515       (+171%)    $515     (+171%)    $570       (+200%)     $860       (+352%)
                           Labaton Keller Sucharow   2       $190                $190                  $190                $190                   $190
                           LLP




2023 Defense Billing Rate Report                                                  1                                                              Rate Comparison by Title
